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Prob 12B                  UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

           PETITION TO MODIFY THE CONDITIONS OR TERM OF SUPERVISION
                        WITH CONSENT OF THE OFFENDER
                         (Probation Form 49, Waiver of Hearing, is on file)



Offender Name:                       Arkisa BROWN

Docket Number:                       1:06CR00201-03

Offender Address:                    Modesto, California

Judicial Officer:                    Honorable Oliver W. Wanger
                                     Senior United States District Judge
                                     Fresno, California

Original Sentence Date:              01/08/2007

Original Offense:                    18 USC 1001 and 2 - False Statements to a
                                     Government Agency and Aiding and Abetting
                                     (CLASS D FELONY)

Original Sentence:                   12 months probation; $100 special assessment

Special Conditions:                  Search; Drug/alcohol treatment and testing; 100 hours
                                     of community service; 180 days inpatient residential
                                     drug treatment program

Type of Supervision:                 Supervised release

Supervision Commenced:               12/14/2007

Assistant U.S. Attorney:             Marlon Cobar                    Telephone: (559) 497-4500

Defense Attorney:                    Carrie Leonetti                 Telephone: (559) 487-5561

Other Court Action:

07/02/2007:                          Form 12C Petition filed with the Court this date alleging
                                     the offender violated the conditions of probation
                                     supervision by committing a new law violation for
                                     possession of a controlled substance; association with
                                     a convicted felon; and failing to follow the instructions of
                                     the probation officer.

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07/24/2007:                  Initial appearance before Duty Magistrate Judge
                             Dennis L. Beck. Offender denied the allegations.
                             Matter set for status conference on August 6, 2007,
                             before Your Honor.

08/07/2007:                  The defendant admitted Charges 1, 2, and 3 as alleged
                             in the Form 12C Petition filed with the Court on July 2,
                             2007. Sentencing set for September 4, 2007.

12/14/2007:                  After several continuances, the offender appeared this
                             date before Your Honor for disposition. Probation was
                             ordered revoked and the offender was committed to the
                             custody of the Bureau of Prisons for a period of 6
                             months, to be followed by 36 months supervised
                             release. Offender to receive credit for time served upon
                             successful completion of the inpatient drug treatment
                             program designated by the probation officer. Offender
                             ordered to self-surrender on January 3, 2008.

01/04/2008:                  Modification filed with the Court this date ordering the
                             surrender date of January 3, 2008, be vacated, and the
                             sentence of 6 month imprisonment was ordered
                             suspended. Ms. Brown ordered to remain at and
                             successfully complete the Westcare Residential Drug
                             Treatment Program for a period of no less than 180
                             days in lieu of the six-month suspended custodial
                             sentence.

02/05/2008:                  Form 12A1 Petition submitted notifying the Court the
                             offender violated the conditions of her supervised
                             release by submitting four (4) urine specimens that
                             were returned as positive for amphetamine and
                             methamphetamine on December 17, 19, 21, and 23,
                             2007. It was requested the Court take judicial notice of
                             the violation conduct and allow the offender to complete
                             Westcare Residential Drug Treatment Program, without
                             further Court sanction.




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                              PETITIONING THE COURT

To modify the conditions of supervision as follows:


      Ms. Brown is ordered to remain at and complete the Westcare program
      for a period not less that 130 days.


Justification: When Ms. Brown was sentenced by Your Honor on December 14, 2007,
following her admission to violation conduct for possession of a controlled substance, she
finally acknowledged she had a drug problem and wanted treatment. Your Honor gave
Ms. Brown the option of serving six (6) months with the Bureau of Prisons, or 6 months in
a residential drug treatment program. Ms. Brown indicated she wanted to attend a drug
treatment program. Also at the time of sentencing, the Court directed the offender not to
use any illegal narcotics. On January 2, 2008, Your Honor approved a motion submitted
by the offender’s attorney requesting the six-month imprisonment, imposed on
December 14, 2007, be suspended and Ms. Brown was ordered to remain at and complete
the Westcare program for a period not less than 180 days in lieu of the six-month
suspended custodial sentence.

On February 5, 2008, the Court was noticed of the offender’s violation conduct for
submitting four (4) urine specimens that were returned by the lab as positive for
amphetamine and methamphetamine, from December 17 through 23, 2007.

The offender entered Westcare Residential Inpatient Drug Treatment Program on
December 21, 2007. Since that time, the offender’s progress in the program can best be
described as marginal. For every good day, Ms. Brown would have five bad days
according to her drug counselor. Although she has attended all of the required classes and
meetings, the offender does not participate. She has threatened to leave the program on
a weekly basis throughout her entire stay. She has been a challenge to program staff, who
have tried to work with Ms. Brown. In essence, Ms. Brown has traded one jail facility for

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another. She has just been doing her time, not taking full advantage of the program that
has been offered to her. Her lack of progress has been disheartening to observe.

It appears the offender has received maximum benefit from the program. It is very costly
for the offender to remain in the program, and there are others in need of and want the
treatment services provided by Westcare. It is respectfully requested Ms. Brown be
allowed to discharge from the Westcare program. She will immediately be enrolled in the
Turning Point drug aftercare counseling and testing program. If there is any further
violation conduct, it will be reported to the Court for revocation proceedings.

                                Respectfully submitted,

                                   /s/ Sandra K. Dash

                                 SANDRA K. DASH
                           United States Probation Officer
                             Telephone: (209) 549-2817

DATED:       April 28, 2008
             Modesto, California
             SKD:lr


REVIEWED BY:        /s/ Deborah A. Spencer
                    DEBORAH A. SPENCER
                    Supervising United States Probation Officer




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THE COURT ORDERS:

( X ) Modification approved as recommended.

( )   Modification not approved at this time. Probation Officer to contact Court.

( )   Other:

IT IS SO ORDERED.

Dated: April 28, 2008                       /s/ Oliver W. Wanger
emm0d6                                 UNITED STATES DISTRICT JUDGE




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                                                                  V IO LA T IO N __P E TIT IO N (P R O B 12B )
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